Case 1:20-0v-11306-RWZ Document 2B Filed 01/12/21 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

RITCH DORCE,

Plaintiff,

v. No. 1:20-cv-11306-RWZ

CHAD F. WOLF, et al.,

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Defendants.

 

JOINT STIPULATION AND ORDER OF DISMISSAL

On December 21, 2020, pursuant to this Court’s order, the parties reached a joint
agreement to return Mr. Dorce to the Boston Field Office Area of Responsibility and to stipulate
to dismissal without prejudice.

On December 22, 2020, Immigration and Customs Enforcement (ICE) returned Mr.
Dorce to the Boston Field Office Area of Responsibility under the conditions set forth in the joint
agreement. Mr. Dorce is currently detained at Plymouth County Correctional Facility.

Therefore, the parties agree and stipulate as follows:

1. Pursuant to Rule 41(a)(2) of the Federal Rule of Civil Procedure, the parties agree to
dismiss without prejudice and without costs or fees, provided that the Court retain
jurisdiction over any issues that arise relating to the joint agreement of December 21,
2020.

2. In particular, the parties have agreed to a stipulation of dismissal without prejudice based

on ICE assurance that, to the extent that ICE continues to detain Mr. Dorce prior to

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Case 1:20-0v-11306-RWZ Document 2B Filed 01/12/21 Page 2 of 3

removal, his place of detention shall remain within the Boston AOR. If Mr. Dorce
becomes subject to a final order of removal, ICE will be permitted to transfer him in
order to effectuate his removal to his home country, if required to obtain travel
documents or for a consular interview, or for exigent circumstances (e.g. medical and
security reasons).

3. This stipulation is subject to the approval of the Court. In the event that the Court

declines to approve this stipulation, it shall be null and void, with no force or effect.

Respectfully submitted this _13th__ day of January, 2021.

ANDREW E. LELLING
United States Attorney

s/ Jennifer Klein /s/ Eve A. Piemonte

Jennifer Klein (BBO#678858) Eve A. Piemonte

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Case 1:20-0v-11906-RWZ Document 22 Filed! 01/13/21 Page 3 of 3

CERTIFICATE OF SERVICE

I, Jennifer Klein, herby certify that on January 13, 2021, a true copy of the foregoing will
be electronically filed with the Clerk of the Court using the CM/ECF system, which will then

send notification of such filing (NEF).

/s/ Jennifer Klein
Jennifer Klein
